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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    CURTIS JOHNSON, et al.,                              Case No.15-cv-02004-JSC
                                                       Plaintiffs,
                                   8
                                                                                             ORDER REGARDING CORRECTIVE
                                                v.                                           NOTICE
                                   9

                                  10    SERENITY TRANSPORTATION, INC., et                    Re: Dkt. Nos. 199, 200
                                        al.,
                                  11                   Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          The Court received the parties’ proposed curative notices and notices of right to join

                                  14   overtime lawsuit, Dkt. Nos. 199-1, 199-2, 199-3, 199-4, submitted pursuant to this Court’s prior

                                  15   order granting Plaintiffs’ motion to invalidate releases signed by current and former Serenity

                                  16   drivers. (Dkt. No. 198.)

                                  17          The Court adopts Plaintiffs’ notice of right to join overtime lawsuit. The Court largely

                                  18   adopts Plaintiffs’ proposed curative notice, with two changes: (1) drivers may contact any counsel

                                  19   to report retaliation as a result of participating in the lawsuit; and (2) language describing the

                                  20   Court’s Order invaliding the releases is removed.

                                  21          The final notice is attached to this order. Notices shall be mailed to all current and former

                                  22   drivers. Defendants shall pay for the cost of the administrator to process and mail the new notice

                                  23   within ten days of the issuance of this order. Defendants shall also serve a copy of the notice on

                                  24   Plaintiffs and file it with the Court, along with a certification that notice was mailed to all current

                                  25   and former drivers. Defendants shall not communicate with all current and former drivers

                                  26   regarding this lawsuit during the opt-in period.

                                  27          Finally, the Court grants Plaintiffs’ request for judicial notice of Exhibit 1, the Corrective

                                  28   Notice Regarding Invalidation of Releases in Mihail Slavkov, et al. v. Fast Water Heater Partners
                                          Case 3:15-cv-02004-JSC Document 206 Filed 11/07/17 Page 2 of 6




                                   1   I, LP, et al., (Case number 14-cv-04324-JST). (Dkt. No. 200-1.)

                                   2          This Order disposes of Docket Nos. 199 and 200.

                                   3          IT IS SO ORDERED.

                                   4   Dated: November 7, 2017

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                                                                                                 JACQUELINE SCOTT CORLEY
                                   7                                                             United States Magistrate Judge
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Northern District of California
 United States District Court




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    CURTIS JOHNSON, et al.,                            Case No.15-cv-02004-JSC
                                                       Plaintiffs,
                                   8
                                                                                           CORRECTIVE NOTICE
                                                v.                                         INVALIDATING RELEASES
                                   9

                                  10    SERENITY TRANSPORTATION, INC., et                  Re: Dkt. Nos. 199, 200
                                        al.,
                                  11                   Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          CORRECTIVE NOTICE REGARDING INVALIDATION OF RELEASES

                                  14   TO:    ALL DRIVERS/TECHNICIANS WHO WORKED FOR SERENITY

                                  15          TRANSPORTATION IN CALIFORNIA WHO HAVE NOT JOINED THE CASE

                                  16          (“OPTED-IN”).

                                  17

                                  18   Why am I Receiving This Corrective Notice?

                                  19          You are receiving this notice because you were identified as a current or former

                                  20   Driver/Technician who has worked for Serenity in California as an independent contractor since

                                  21   May 16, 2013 and who has not yet filed a form to assert your rights in this case pursuant to the

                                  22   federal Fair Labor Standards Act (FLSA) (i.e. you have not yet “opted-in” to this case). Plaintiffs

                                  23   Curtis Johnson and Gary Johnson filed a lawsuit against Serenity Transportation, Inc., David

                                  24   Friedel, and SCI/SCI California (“Defendants”) alleging that Defendants misclassified Drivers as

                                  25   independent contractors while treating them as employees under federal and state law. Plaintiffs

                                  26   have asserted claims in this lawsuit to recover overtime pay, minimum wage, necessary expense

                                  27   reimbursements, meal and rest period premium wages, interest, civil penalties, statutory penalties,

                                  28   and related penalties under federal and state law. Defendants deny all wrongdoing.
                                          Case 3:15-cv-02004-JSC Document 206 Filed 11/07/17 Page 4 of 6




                                   1          As a current or former Driver, you may have received a letter and a release from Serenity

                                   2   Transportation, Inc., regarding the lawsuit that is pending against Defendants. The letter may have

                                   3   included a check and a document titled “Settlement And Release Agreement.” You may have also

                                   4   observed or been subject to other verbal communications from Serenity and/or David Friedel

                                   5   regarding your participation in this lawsuit. These written and oral communications were not

                                   6   approved or authorized by the Court.

                                   7          The Court recently issued an order finding that Serenity acted improperly;

                                   8   invalidating Defendants’ releases; and giving Drivers another opportunity to join this

                                   9   lawsuit. Please read this Corrective Notice carefully to understand your rights.

                                  10   IMPORTANT DEADLINE: If you would like to join this lawsuit, you must return the Consent

                                  11   to Join Form attached as Exhibit A by 60 DAYS AFTER MAILING.

                                  12
Northern District of California
 United States District Court




                                  13   What is a Release, and What did the Court Decide About the Releases?

                                  14          The releases in this case were documents in which Defendants sought Drivers’ agreement

                                  15   to give up the right to participate in this lawsuit, including the right to recover any money in this

                                  16   lawsuit. Some Drivers signed Defendants’ releases, and Plaintiffs challenged the validity of the

                                  17   releases in Court. On September 25, 2017, the Court issued an order invalidating the releases. This

                                  18   means that if you signed a release, you have not given up any of your claims against

                                  19   Defendants and still have the right to participate in this lawsuit, if you wish to do so.

                                  20          The Court found that Serenity actively discouraged Drivers’ participation in the lawsuit,

                                  21   and that Serenity’s letter and release contained misleading information and omissions. You may

                                  22   obtain a copy of the Court’s Order by contacting Plaintiffs’ counsel, RUKIN HYLAND LLP,

                                  23   whose contact information is located on page 4 of this Notice.

                                  24   If I Signed a Release, can I Still Participate in the Lawsuit?

                                  25   Yes. If you signed a release and/or cashed the check sent to you by Serenity Transportation, you

                                  26   are not bound by the release and you have not released any of your claims against Defendants.

                                  27   You are not required to return any money you may have received in connection with the

                                  28   invalidated release. If you wish to participate in the case as an opt-in plaintiff, you must carefully
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                                          Case 3:15-cv-02004-JSC Document 206 Filed 11/07/17 Page 5 of 6




                                   1   review the instructions in the Notice and Consent to Join Form attached as Exhibit A. The Court

                                   2   has extended the deadline for joining this lawsuit.

                                   3   IF YOU DECIDE TO JOIN THIS LAWSUIT, YOU MUST SUBMIT THE CONSENT TO

                                   4   JOIN FORM (ATTACHED AS EXHIBIT A) TO THE NOTICE ADMINISTRATOR SO

                                   5   THAT IT IS RECEIVED OR POSTMARKED ON OR BEFORE 60 DAYS AFTER

                                   6   MAILING OF NOTICE.

                                   7

                                   8   Can Serenity or the Other Defendants Retaliate Against me for Joining?

                                   9             Federal law prohibits Serenity Transportation, Inc., David Friedel, and SCI/SCI California

                                  10   from taking any adverse action against you for joining or participating in this lawsuit. That means

                                  11   you cannot be fired, sued, demoted, punished, or otherwise discriminated against for participating

                                  12   in this suit. If you believe you have been discriminated against, retaliated against, or disciplined in
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                                  13   any way as a result of considering whether to join or actually participating in this lawsuit, you

                                  14   should contact a lawyer. If you choose, you may contact attorneys for Plaintiffs in this class

                                  15   action.

                                  16   Future Communications from Serenity Transportation

                                  17             The Court has reopened the opt-in period for Drivers to join this case. If you would like to

                                  18   join the case, you must carefully review the Notice and Consent to Join Form for instructions and

                                  19   return the Consent to Join Form by 60 DAYS AFTER MAILING OF NOTICE. During this opt-in

                                  20   period, Serenity is not permitted to discuss this lawsuit with you. If you receive any

                                  21   communications from Serenity or its representatives, including David Friedel, regarding this

                                  22   lawsuit during the optin period, please contact Plaintiffs' lawyers immediately. Following the

                                  23   termination of the opt-in period, Serenity may discuss the lawsuit with current and former Drivers.

                                  24   However, the Court has ordered that Serenity notify Plaintiffs’ counsel before it obtains a signed

                                  25   release from any Driver. If Serenity contacts you following the close of the opt-in period to sign a

                                  26   release and you would like advice regarding the release, you should contact a lawyer. If you

                                  27   choose, you may contact attorneys for Plaintiffs in this class action.

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                                          Case 3:15-cv-02004-JSC Document 206 Filed 11/07/17 Page 6 of 6




                                   1   Plaintiffs’ Lawyers Contact Information

                                   2   If you have questions about this lawsuit, you should contact a lawyer. If you choose, you may

                                   3   contact attorneys for Plaintiffs in this class action. You can contact Plaintiffs’ lawyers at:

                                   4

                                   5   Peter Rukin (prukin@rukinhyland.com)

                                   6   Jessica Riggin (jriggin@rukinhyland.com)

                                   7   Valerie Brender (vbrender@rukinhyland.com)

                                   8   RUKIN HYLAND LLP

                                   9   1330 Broadway, Ste 1450

                                  10   Oakland, California 94612

                                  11   Phone: (415) 421-1800

                                  12   Fax: (415) 421-1700
Northern District of California
 United States District Court




                                  13

                                  14          IT IS SO ORDERED.

                                  15   Dated: November 7, 2017

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                                                                                                      JACQUELINE SCOTT CORLEY
                                  18                                                                  United States Magistrate Judge
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